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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
 NATIONAL IMMIGRATION PROJECT OF                   )
 THE NATIONAL LAWYERS GUILD,                       )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )        Civil Action No. 17-2596 (RCL)
                                                   )
 U.S. IMMIGRATION AND CUSTOMS                      )
 ENFORCEMENT, et al.,                              )
                                                   )
                Defendants.                        )
                                                   )

                                   JOINT STATUS REPORT

       Plaintiff National Immigration Project of the National Lawyers Guild (“Plaintiff”) and

Defendants U.S. Immigration and Customs Enforcement and U.S. Department of Homeland

Security (collectively, “Defendants”) have conferred and provide this joint status report per the

Court’s May 30, 2020, Minute Order.

       Plaintiff recently finished assessing Defendants’ Vaughn index entries spanning over 2,500

pages. Plaintiff intends to challenge certain redactions involving FOIA Exemptions 5 and 7(E), 5

U.S.C. § 552(b)(5), (7)(E). Plaintiff also intends to notify Defendants of the specific Vaughn index

entries it intends to challenge through dispositive motions or otherwise but Plaintiff requires

additional time to do so. Once Plaintiff identifies the entries it intends to challenge, Defendants

will require time to review Plaintiff’s submission.        The parties intend to continue their

communications to further resolve issues without the need for the Court’s involvement.

       Given travel and leave schedules in August, as well as defense counsel’s preparations for

a five-day jury trial that is scheduled to begin in late August, the parties propose filing another
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joint status report by September 18, 2020, advising the Court on the issues that remain to be

litigated.

Dated: June 30, 2020                      Respectfully submitted,

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